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   17                     UNITED STATES DISTRICT COURT
   18                    CENTRAL DISTRICT OF CALIFORNIA

   19 VERNON UNSWORTH,                         Case No. 2:18-cv-08048-SVW (JCx)
   20
          Plaintiff,                           Judge: Hon. Stephen V. Wilson
   21
   22 v.                                       PLAINTIFF VERNON
                                               UNSWORTH’S NOTICE OF
   23 ELON MUSK,                               MOTION AND MOTION IN
   24                                          LIMINE
          Defendant.
   25                                          Pretrial Conference:   Dec. 2, 2019
   26                                          Hearing Date:          Dec. 2, 2019
                                               Time:                  2:30 p.m.
   27                                          Courtroom:             10A
   28
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    1        PLEASE TAKE NOTICE THAT on December 2, 2019, at 2:30 p.m. in
    2 Courtroom 10A of the above-titled Court, Plaintiff Vernon Unsworth will move this
    3 Court for an order granting Plaintiff’s Motion in Limine. Plaintiff’s Motion in
    4 Limine is made pursuant to this Notice of Motion, Plaintiff’s memorandum in
    5 support filed below, and any such additional argument or materials as may be
    6 submitted to the Court before the time of the decision in this matter.
    7        DATED: December 2, 2019                Respectfully submitted,
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                                                    L. Lin Wood, P.C.
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   10                                               By: /s/ L. Lin Wood
                                                    L. Lin Wood
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                                                    Attorney for Plaintiff Vernon Unsworth
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    1         At every opportunity, Musk demeans Unsworth’s right to present his case
    2 pursuant to the pretrial order entered in this case. From the time of the filing of his
    3 Complaint to the present day, Unsworth has pursued a cause of action against Musk
    4 for defamation based on the July 15 tweet in which Musk described Unsworth as a
    5 “pedo guy.” Musk now wishes to misrepresent the civil process that results in the
    6 entry of a pretrial order which supersedes prior pleadings and arguments by the parties
    7 on motion to dismiss and motion for summary judgement. The legal rule that the
    8 pretrial order governs the case cannot be manipulated by Musk to improperly argue
    9 or comment to the jury that Unsworth is engaging in “gamesmanship” by
   10 “abandoning” his claims based on Musk’s emails to BuzzFeed. That is false and if
   11 allowed to be argued would open the door to presentation of the entire record in the
   12 case prior to the entry of the pretrial order.
   13         Unsworth files this motion in limine asking the Court to exclude any argument
   14 or comment by defense counsel to the effect that Unsworth has purportedly engaged
   15 in gamesmanship, or that he abandoned a claim, or that he changed his case by not
   16 pursuing a legal claim arising out of the emails to BuzzFeed. Those emails are relevant
   17 to Musk’s state of mind on July 15, and the decision against suing separately on them
   18 is not an admission that the terms used therein were not defamatory. In fact, the terms
   19 used in the emails are consistent with describing potential acts of pedophilia. The
   20 emails are highly relevant proof of Musk’s common law malice against Unsworth.
   21 Musk cannot be allowed to prejudice the jury by arguing, for example, that Unsworth
   22 has conceded the truth of Musk’s heinous allegations to BuzzFeed, or that Unsworth
   23 has in some fashion been unfair in how he pursued his legitimate cause of action
   24 against Musk by following the established rules governing the pretrial process and the
   25 effect of the pretrial order. Musk’s demeaning terms are not only irrelevant and not
   26 supported by admissible evidence but would undoubtedly create jury confusion, a
   27 waste of time, undue delay, and harmful prejudice to Unsworth’s right to follow the
   28 rules of civil procedure in presenting his case in chief to the jury. To evaluate Musk’s
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                           PLAINTIFF VERNON UNSWORTH’S MOTIONS IN LIMINE
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    1 specious arguments, the jury would have to review and consider the extensive
    2 pleadings and motions practice to begin to understand Unsworth’s decision regarding
    3 the presentation of his single cause of action. That decision is within the sole province
    4 of the Court, and the Court has entered its pretrial rulings and has now entered the
    5 pretrial order. No argument or comment by counsel should suggest that the jury has
    6 the right to revisit those rulings by the Court or that Unsworth has somehow used the
    7 rules to gain an unfair advantage.
    8        Federal Rule of Evidence 402 provides that “[i]rrelevant evidence is not
    9 admissible.” Moreover, even relevant evidence may be excluded under certain
   10 circumstances:
   11        The court may exclude relevant evidence if its probative value is
   12        substantially outweighed by a danger of one or more of the following:
   13        unfair prejudice, confusing the issues, misleading the jury, undue delay,
   14        wasting time, or needlessly presenting cumulative evidence.
   15 Fed. R. Evid. 403. Evidence is unfairly prejudicial if it has an “undue tendency to
   16 suggest decision on an improper basis, commonly, though not necessarily, an
   17 emotional one.” Contreras v. City of Los Angeles, No. 2:11-CV-01480-SVW-SH,
   18 2012 WL 12893417, at *3 (C.D. Cal. Sept. 11, 2012) (emphasis added).
   19        Courts routinely bar discussion of the fact that the scope of a plaintiff’s claim
   20 has changed before trial. See, e.g., Oyarzo v. Tuolumne Fire Dist., 1:11-CV-01271-
   21 SAB, 2013 WL 5718882, at *9 (E.D. Cal. Oct. 18, 2013) (“The fact that Defendants
   22 motion for summary judgment has been granted in respect to certain claim or
   23 defendants is irrelevant and the admission of such evidence is highly prejudicial.”).
   24        Unsworth’s claim against Musk has always been styled as a single cause of
   25 action, beginning with the first filing—the Complaint. (See Doc. 1 at pp. 17-20).
   26 Nevertheless, Musk feigns surprise that Unsworth is pursuing the same case he has
   27 always been pursuing—a claim for defamation based on Musk’s false and defamatory
   28 accusation that Unsworth is a pedophile. Unsworth’s fundamental claim has never
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    1 changed. And as the Court noted in the pretrial conference on November 26, 2019,
    2 Unsworth’s decision to focus his case before the jury is not “prejudicial because if
    3 anything, it has limited rather than expanded” the case to be tried.
    4         The Complaint, however, is no longer what governs the case to be tried. The
    5 Pretrial Order is operative. (See Doc. 137). And the Pretrial Order correctly states
    6 that the cause of action is based on the July 15 Tweets:
    7                  Unsworth claims that Musk defamed him by calling him a
    8         “pedophile.” To establish that Musk called him a pedophile, Unsworth
    9         maintains that Musk made the following writings on his verified Twitter
   10         account:
   11               • “Never saw this British expat guy who lives in Thailand (sus) at
   12                  any point when we were in the caves.”
   13               • “Sorry pedo guy, you really did ask for it.”
   14               • “Bet ya a signed dollar it’s true.”
   15 (Id. at 2).
   16         To the extent Musk wishes to characterize the trajectory from the Complaint to
   17 the Pretrial Order—including through false allegations of gamesmanship or
   18 abandonment—this would be an unduly prejudicial sideshow that would confuse the
   19 jury, waste time, and cause undue delay. Musk cannot identify any relevance to
   20 Unsworth’s decision to focus his cause of action on the July 15 Tweets. Rather, the
   21 only purpose of discussing this issue with the jury would be to plant an unfairly
   22 prejudicial seed in the jury’s mind that Unsworth was somehow unable to substantiate
   23 a claim. Not only is that false—as demonstrated by this Court’s denial of Musk’s
   24 Motion for Summary Judgment (see Doc. 124)—it is unfairly prejudicial and
   25 misleading.
   26         Moreover, in order for the jury to properly contextualize Unsworth’s trial
   27 strategy, the jury would need to consider the lengthy pleadings and motion filings that
   28 took the case from the Complaint to the Pretrial Order. This would be a lengthy
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                              PLAINTIFF VERNON UNSWORTH’S MOTIONS IN LIMINE
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    1 sideshow that would confuse the jury, waste time, and cause undue delay. Indeed, it
    2 is not for the jury to muddle through the unproven and erroneous factual and legal
    3 arguments Musk raised while litigating this matter.
    4        Ultimately, the case that the jury will hear is defined by the Pretrial Order. The
    5 Court has already found that Unsworth’s proper use of the pretrial order proceedings
    6 to define the defamation case he will present to the jury is not prejudicial to Musk.
    7 Unsworth has played by the rules. Musk seeks to misrepresent the rules. The Court
    8 should thus bar Musk from presenting to the jury any argument or make any
    9 comments that Unsworth has purportedly engaged in gamesmanship, changed his
   10 claim, or abandoned claims.
   11        Dated: December 2, 2019          L. LIN WOOD, P.C.
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   13                                         By: /s/L. Lin Wood
                                              L. Lin Wood
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             Attorneys for Plaintiff Vernon Unsworth
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                          PLAINTIFF VERNON UNSWORTH’S MOTIONS IN LIMINE
